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                                                                               Court Plaza North
                                                                                25 Main Street
                                                                                 P.O. Box 800
                                                                          Hackensack, NJ 07602-0800
                                                                      201-489-3000 201-489-1536 fax
                                                                                       —
                                                                                   New York
                                                                                       —
                                                                                   Delaware
Edward Sun Kiel
Member                                                                                 —
                                                                                   Maryland
Reply to New Jersey Office
                                                                                       —
Writer’s Direct Line: 201-525-6232                                                   Texas
Writer’s Direct Fax: 201-678-6232                                                      —
Writer’s E-Mail: edward.kiel@coleschotz.com
                                                                                    Florida




                                              November 8, 2018

Via Electronic Case Filing

Honorable James B. Clark III
United States Magistrate Judge
United States Post Office & Courthouse
5 Federal Square
Newark, New Jersey 07010
            Re:         Hantman, et al. v. Naar, et al.
                        Case No.: 2:18-cv-11047-KM-JBC
                        Motion to be Relieved as Counsel

Dear Judge Clark:

       This firm represents defendants Garth Andre Naar and Avatar Management, LLC
(collectively, the “Avatar Parties”). We write to request rescheduling of the in-person
conference scheduled for December 6, 2018 on the motion (the “Motion”) of Cole Schotz
P.C. (“Cole Schotz”) to be relieved as counsel for the Avatar Parties. [Dkt. 74.]. The
Motion was filed pursuant to Judge McNulty’s text order directing Cole Schotz to file the
Motion by November 2, with opposition (if any) to be filed by November 9, and any reply
by November 14. [Dkt. 70.] The Motion was filed on November 2 [Dkt. 72], along with a
declaration filed under seal.

       Unfortunately, I have a conflict in my schedule on December 6. I will be California
for an arbitration that has been scheduled for several months. The arbitration hearing is
scheduled for December 4, 5, and 6 with JAMS in San Jose, California. I have consulted
with all counsel in this matter and they have provided the courtesy of consent to reschedule
the in-person conference. I also have the consent of the Avatar Parties. All counsel and the
Avatar Parties are available on November 26 or December 10 for the in-person conference.
We hope the Court can accommodate the parties and counsel on one of these dates.


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Cole, Schotz, Meisel, Forman & Leonard, P.A.
                  Attorneys at law

Honorable James B. Clark III
November 8, 2018
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         We thank the Court for its consideration.
                                                     Respectfully submitted,

                                                     /s/ Edward Sun Kiel

                                                     Edward Sun Kiel

ESK:dmb
cc:  All counsel (via ECF)
     Garth Andre Naar (via email)
     Avatar Management, LLC (via email)




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